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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                        Delaware
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                                       11
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               AAC Holdings, Inc.
                                              ______________________________________________________________________________________________________



                                                  N/A
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               XX-XXXXXXX
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  200        Powell Place                                  _______________________________________________
                                              ______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box
                                                  Brentwood                    TN         37027
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Williamson
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://americanaddictioncenters.org
                                              ____________________________________________________________________________________________________




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Debtor
               AAC Holdings, Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                          ■ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              6 2___3___2 ___
                                             ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ■ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor           AAC Holdings, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        ■ No
                                          
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
                                          ■ Yes.
                                                           See Schedule 1 attached hereto
                                                    Debtor _____________________________________________ Relationship _________________________
       business partner or an
       affiliate of the debtor?                               Delaware
                                                    District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                          ■ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                          

 12.   Does the debtor own or have        ■ No
                                          
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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               AAC Holdings, Inc.
Debtor        _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   ■ Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                           ■ 10,001-25,000
                                                                                                                         More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               ■ $100,000,001-$500 million
                                                                                                                         More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               ■ $100,000,001-$500 million
                                                                                                                         More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          06/20/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8      /s/ Andrew McWilliams
                                             _____________________________________________                 Andrew McWilliams
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Executive Officer
                                             Title _________________________________________




   $QVZHUVWR4XHVWLRQVDUHRQDFRQVROLGDWHGEDVLVZLWKDIILOLDWHG'HEWRUV




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Debtor         AAC Holdings, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8 /s/ Dennis A. Meloro
                                            _____________________________________________            Date         06/20/2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Dennis A. Meloro
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Greenberg Traurig, LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1007        N. Orange Street, Suite 1200
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Wilmington
                                           ____________________________________________________             DE
                                                                                                           ____________  19801
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            302-661-7000
                                           ____________________________________                             melorod@gtlaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4435
                                           ______________________________________________________  DE
                                                                                                  ____________
                                           Bar number                                             State




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Debtor     AAC Holdings, Inc.                                              Case number (if known)
           Name

                              SCHEDULE 1 TO VOLUNTARY PETITION
         The following list identifies all of the affiliated entities, including the Debtor filing this petition
         (collectively, the “Debtors”), that filed voluntary petitions for relief under Chapter 11 of the Bankruptcy
         Code in the United States Bankruptcy Court for the District of Delaware, contemporaneously with the filing
         of this petition. The Debtors filed a motion requesting joint administration.


         AAC Dallas Outpatient Center, LLC                    Green Hill Realty Corporation
             d/b/a Greenhouse Outpatient Center               Greenhouse Treatment Center, LLC
         AAC Healthcare Network, Inc.                             d/b/a The Greenhouse
         AAC Holdings, Inc.                                   Laguna Treatment Hospital, LLC
         AAC Las Vegas Outpatient Center, LLC                 Las Vegas Professional Group – Calarco, P.C.
             d/b/a Desert Hope Outpatient Center              Lincoln Catharine Realty Corporation
         ABTTC, LLC                                           New Jersey Addiction Treatment Center, LLC
         AdCare Criminal Justice Services, Inc.                   d/b/a Sunrise House
         AdCare Hospital of Worcester, Inc.                   Oxford Outpatient Center, LLC
         AdCare Rhode Island, Inc.                            Oxford Professional Group, P.C.
         AdCare, Inc.                                         Oxford Treatment Center, LLC
         Addiction Labs of America, LLC                       Palm Beach Professional Group,
         American Addiction Centers, Inc.                         Professional Corporation
         B&B Holdings Intl LLC                                Pontchartrain Medical Group,
         Behavioral Healthcare Realty, LLC                        A Professional Corporation
         BHR Aliso Viejo Real Estate, LLC                     Recovery Brands, LLC
             d/b/a Resolutions San Diego                      Recovery First of Florida, LLC
         BHR Greenhouse Real Estate, LLC                          d/b/a Recovery First
             d/b/a Resolutions Arlington                          d/b/a Recovery First Fort Lauderdale East
         BHR Oxford Real Estate, LLC                          Referral Solutions Group, LLC
             d/b/a Resolutions Oxford                         RI - Clinical Services, LLC
         BHR Ringwood Real Estate, LLC                        River Oaks Treatment Center, LLC
             d/b/a Resolutions Franklin                       Sagenex Diagnostics Laboratory, LLC
         Clinical Revenue Management Services, LLC            San Diego Addiction Treatment Center, Inc.
         Concorde Real Estate, LLC                            San Diego Professional Group, P.C.
             d/b/a Resolutions Las Vegas                      Singer Island Recovery Center LLC
         Concorde Treatment Center, LLC                       Sober Media Group, LLC
             d/b/a Desert Hope Center                         Solutions Treatment Center, LLC
         Diversified Healthcare Strategies, Inc.                  d/b/a Solutions Recovery
         Fitrx, LLC                                           Taj Media LLC
         Forterus Health Care Services, Inc.                  The Academy Real Estate, LLC
         Grand Prairie Professional Group, P.A.               Tower Hill Realty, Inc.




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

          In re:
                                                                            Chapter 11
          AAC HOLDINGS, INC.,
                                                                            Case No. 20-_______
                           Debtor.
                                                                            (Joint Administration Pending)

                            Attachment to Voluntary Petition for Non-Individuals Filing
                                       For Bankruptcy Under Chapter 11

              1. If any of the debtor’s securities are registered under Section 12 of the Securities
           Exchange Act of 1934, the SEC file number is 001-36643.

               2. The following financial data is the latest available information and refers to the debtor’s
           condition on February 29, 2020.
                      a.   Total assets                                                                             $ 449,347,000
                      b.   Total debts (including debts listed in 2.c., below)                                      $ 517,398,000
                      c.   Debt securities held by more than 500 holders                                              Approximate
                                                                                                                      number of
                                                                                                                      holders:
           secured ___        unsecured         ___       subordinated           ___       $ N/A                      N/A
           secured ___        unsecured         ___       subordinated           ___       $ N/A                      N/A
           secured ___        unsecured         ___       subordinated           ___       $ N/A                      N/A
                      d.   Number of shares of preferred stock                                                        0
                      e.   Number of shares common stock                                                              27,165,046
                    Comments, if any: On October 25, 2019, the New York Stock Exchange commenced
            delisting proceedings to delist the common stock due to the failure to maintain an average
            global market capitalization over a consecutive 30 trading day period of at least $15 million.
            Shares ceased trading on the New York Stock Exchange after the market closed on October 25,
            2019 and have been subsequently traded on an over-the-counter market.

                3. Brief description of debtor’s business: The Debtor and its affiliates: (i) provide
           inpatient and outpatient substance use treatment services for individuals with drug addiction,
           alcohol addiction and co-occurring mental/behavioral health issues; (ii) perform clinical
           diagnostic laboratory services and provide physician services to clients; and (iii) operate
           numerous facilities located throughout the United States including inpatient substance abuse
           treatment facilities, standalone outpatient centers and sober living facilities.

                   4. List the names of any person who directly or indirectly owns, controls, or holds, with
           power to vote, 5% or more of the voting securities of debtor: According to information
           ascertained from filings with the Securities and Exchange Commission, the following persons
           are holders of 5% or more of outstanding common stock of the Debtor: Michael T. Cartwright;
           Steven D. Lebowitz; Deborah P. Lebowitz; and Altrinsic Global Advisors, LLC/John Hock.
Official Form 201A                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                                                               EXECUTION VERSION


                         CERTIFICATION OF RESOLUTIONS OF THE
                                 BOARD OF DIRECTORS
                                         OF
                                  AAC HOLDINGS, INC.

                                           June17,2020

         The undersigned, as Secretary of AAC Holdings, Inc., a Nevada corporation (the
"Company"), does hereby certify that the following resolutions were adopted by the board of
directors of the Company (including the special restructuring committee of the board of
directors) (the "Governing Body") at a meeting of the Governing Body held on June 17, 2020,
upon the request of two directors, Scott Vogel and Michael Logan, and upon 24 hours' notice of
such meeting to the Governing Body, in accordance with the bylaws of the Company (as
amended, restated, supplemented, or otherwise modified from time to time, the "Governing
Documents") and the laws of the state of the Company's incorporation, and that the same have
not been revoked, rescinded, cancelled, annulled, modified, or amended in any manner and are in
full force and effect:

        WHEREAS, the Governing Body has considered presentations by the Company's
management (the "Management") and financial and legal advisors (collectively, the "Advisors")
regarding the liabilities and liquidity of the Company, the strategic alternatives available to it,
and the effect of the foregoing on the Company's business, and the Governing Body has had the
opportunity to consult with the Company's Management and Advisors and fully consider each of
the strategic alternatives available to the Company;

        WHEREAS, the Governing Body has determined that it is desirable and in the best
interests of the Company, its creditors, and other parties in interest that the Company be
authorized to file or cause to be filed a voluntary petition for relief (the "Chapter 11 Case") under
the provisions of chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") in the
United States Bankruptcy Court for the District of Delaware or in any other court of competent
jurisdiction (the "Bankruptcy Comt"), and any other petition for relief or recognition or other
order that may be necessary, appropriate, or desirable under applicable law in the United States;

        WHEREAS, the Governing Body has determined that it is desirable and in the best
interests of the Company, its creditors, and other parties in interest that the Company retain and
appoint professionals, as necessary, to represent and assist the Company in carrying out its duties
under the Bankruptcy Code, with a view to the successful prosecution of the Chapter 11 Case;

        WHEREAS, the Governing Body has determined that it is desirable and in the best
interests of the Company that the Company enter into a multi-draw superpriority senior secured
priming debtor-in-possession term loan credit facility to be provided by certain lenders (the "DIP
Lenders") to Company, as borrower (the "DIP Facility"), with the subsidiaries of the Company
as guarantors under the DIP Facility;

        WHEREAS, the Governing Body has determined that it is desirable and in the best
interests of the Company that the Company have access to the use of cash collateral, as defined
in section 363(a) of the Bankruptcy Code (as defined below) (the "Cash Collateral") which is

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security for certain prepetition secured lenders (the "Prepetition Lenders") party to (a) that
certain Credit Agreement dated as of March 8, 2019, as amended, restated, supplemented, or
otherwise modified from time to time, by and among the lenders party thereto, Ankura Trust
Company, LLC, as administrative agent and collateral agent, and Company, as borrower, with
the subsidiaries of the Company as guarantors and (b) that certain Credit Agreement dated as of
June 30, 2017, as amended, restated, supplemented, or otherwise modified from time to time, by
and among the lenders party thereto, Ankura Trust Company, LLC, as administrative agent and
collateral agent, and Company, as borrower, with the subsidiaries of the Company as guarantors,
and that the Company provide adequate protection to such Prepetition Lenders for the use of any
Cash Collateral;

        WHEREAS, the Governing Body has determined that it is desirable and in the best
interests of the Company that the Company enter into a Restructuring Support Agreement (as
amended, restated, supplemented, or otherwise modified from time to time, the "Restructuring
Supp01t Agreement") with certain lenders;

        WHEREAS, the Governing Body has determined that it is desirable and in the best
interests of the Company that the Company appoint a chief restructuring officer to assist the
Company with the successful prosecution of its Chapter 11 Case; and

        WHEREAS, the Governing Body has determined that it is desirable and in the best
interests of the Company to take the following actions and adopt the following resolutions.

I.      CHAPTER 11 FILING

        NOW, THEREFORE, BE IT RESOLVED, that the Chief Executive Officer, Chief
Financial Officer, CRO (as defined below), Chief Legal Officer, President, any Vice President,
any other duly appointed officer of the Company, and any director, manager, or member of the
Company (each, an "Authorized Person" and collectively, the "Authorized Persons"), acting
alone or with one or more other Authorized Persons, be and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to file or cause to be
filed the Chapter 11 Case under the provisions of the Bankruptcy Code in the Bankruptcy Court;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to negotiate, execute,
deliver, file, and record all petitions, schedules, statements, motions, lists, applications,
pleadings, papers, affidavits, declarations, orders, and other documents (collectively, the
"Chapter 11 Documents"), and to take any and all action such Authorized Person determines to
be necessary, appropriate, or desirable in connection with the Chapter 11 Case (including,
without limitation, to pay fees, expenses, and taxes and to take any action to maintain the
ordinary course operation of the Company's business) (any such determination to be
conclusively evidenced by the taking of any such action by such Authorized Person);




                                                2
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II.      RETENTION OF PROFESSIONALS

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ the law firm
of Greenberg Traurig, LLP, as the Company's counsel, to represent and assist the Company in
carrying out its duties under the Bankruptcy Code and to take any and all actions to advance the
Company's rights and obligations, including filing any Chapter 11 Documents, and, in
connection therewith, each Authorized Person, with power of delegation, is hereby authorized,
empowered, and directed, in the name of and on behalf of the Company, to execute appropriate
retention agreements, pay appropriate retainers, and cause to be filed an appropriate application
for authority to retain Greenberg Traurig, LLP, in accordance with applicable law;

       FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ the firm of
Chipman Brown Cicero & Cole, LLP ("Chipman"), as conflicts counsel, to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance the Company's rights and obligations, and, in connection therewith, each
Authorized Person is, with power of delegation, hereby authorized, empowered, and directed, in
the name of and on behalf of the Company, to execute appropriate retention agreements, pay
appropriate retainers, and cause to be filed an appropriate application for authority to retain
Chipman in accordance with applicable law;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ the firm of
Cantor Fitzgerald, as the Company's investment banker, to represent and assist the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the
Company's rights and obligations, and, in connection therewith, each of the Authorized Persons
is, with power of delegation, hereby authorized, empowered, and directed, in the name of and on
behalf of the Company, to execute appropriate retention agreements, pay appropriate retainers,
and cause to be filed an appropriate application for authority to retain Cantor Fitzgerald in
accordance with applicable law;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ Donlin,
Recano & Company, Inc., as the notice, claims, and balloting agent and the administrative
advisor (collectively, the "Claims Agent") to represent and assist the Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance the Company's
rights and obligations, and, in connection therewith, each Authorized Person, with power of
delegation, is hereby authorized, empowered, and directed, in the name of and on behalf of the
Company, to execute appropriate retention agreements, pay appropriate retainers, and cause to be
filed an appropriate application for authority to retain the Claims Agent in accordance with
applicable law;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ any other
professionals to represent and assist the Company in carrying out its duties under the Bankruptcy

                                                3
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Code, and, in connection therewith, each Authorized Person, with power of delegation, is hereby
authorized, empowered, and directed, in the name of and on behalf of the Company, to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of any other professionals as such
Authorized Person determines is necessary, appropriate, or desirable (including, without
limitation, special counsel to the extent determined necessary, appropriate, or desirable), (any
such determination to be conclusively evidenced by the taking of any such action by such
Authorized Person);

III.     DIP FACILITY

       FURTHER RESOLVED, that the form, terms, and provisions of that certain Senior
Secured Super-Priority Debtor-in-Possession Credit Agreement (as amended, restated,
supplemented, or otherwise modified from time to time, the "DIP Credit Agreement"), by and
among the DIP Lenders, Ankura Trust Company, LLC, as administrative agent and collateral
agent for the DIP Lenders (the "DIP Agent"), Company, as borrower, and the subsidiaries of the
Company, as guarantors, are hereby authorized and approved in the form presented to the
Governing Body, with such other changes as any Authorized Person executing and delivering the
same shall determine are necessary, appropriate, or desirable (any such determination to be
conclusively evidenced by such Authorized Person's execution and delivery thereof);

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to negotiate, execute,
deliver, file, and record the DIP Credit Agreement and such other definitive agreements,
documents, and instruments (including, without limitation, the related notes, security
agreements, collateral agreements, pledge agreements, control agreements, guarantees, and
mortgages) as are, in each case, determined by such Authorized Person to be necessary,
appropriate, or desirable to effectuate the DIP Facility (any such determination to be
conclusively evidenced by such Authorized Person's execution and delivery thereof) or as are
otherwise required by the DIP Lenders or the DIP Agent (such agreements, documents, and
instruments, together with the DIP Credit Agreement, the "DIP Loan Documents");

       FURTHER RESOLVED, that the consummation of the transactions contemplated by
the DIP Loan Documents (including the Company's borrowing of loans thereunder, the
Company's subsidiaries' guaranty of the Company's obligations thereunder, and the Company's
grant of a security interest in all or substantially all of the Company's assets in favor of the DIP
Agent to secure the obligations thereunder), and the performance of the Company's obligations
under the DIP Loan Documents, are hereby authorized and approved;

       FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to take all such further
actions (including, without limitation, to pay all fees and expenses in accordance with the terms
of the DIP Loan Documents) which such Authorized Person shall determine are necessary,
appropriate, or desirable to perform the Company's obligations under or in connection with the
DIP Loan Documents and to carry out fully the purposes of the foregoing resolutions (any such


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ACTIVE 50785042vl
                    Case 20-11648-JTD    Doc 1        Filed 06/20/20   Page 12 of 20


determination to be conclusively evidenced by such Authorized Person's taking such further
action);

IV.      CASH COLLATERAL

        FURTHER RESOLVED, that the Company, as a debtor and debtor-in-possession under
the Bankruptcy Code, is authorized, empowered, and directed to provide adequate protection to
the Prepetition Lenders for the use of the Cash Collateral, including by granting a security
interest in all or substantially all of the Company's assets to the Prepetition Lenders to secure the
obligations incurred in respect of such adequate protection;

V.      RESTRUCTURING SUPPORT AGREEMENT

       FURTHER RESOLVED, that the form, terms, and provisions of the Restructuring
Support Agreement are hereby authorized and approved in the form presented to the Governing
Body, with such other changes as any Authorized Person executing and delivering the same shall
determine are necessary, appropriate, or desirable (any such determination to be conclusively
evidenced by such Authorized Person's execution and delivery thereof);

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to negotiate, execute,
deliver, file, and record the Restructuring Support Agreement and such other definitive
agreements, documents, and instruments as are, in each case, determined by such Authorized
Person to be necessary, appropriate, or desirable (any such determination to be conclusively
evidenced by such Authorized Person's execution and delivery thereof) (such agreements,
documents, and instruments, together with the Restructuring Support Agreement, the "RSA
Documents");

      FURTHER RESOLVED, that the consummation of the transactions contemplated by
the RSA Documents, and the performance of the Company's obligations under the RSA
Documents, are hereby authorized and approved;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to take all such further
actions which such Authorized Person shall determine are necessary, appropriate, or desirable to
perform the Company's obligations under or in connection with the RSA Documents and to
carry out fully the purposes of the foregoing resolutions (any such determination to be
conclusively evidenced by such Authorized Person's taking such further action);

VI.     APPOINTMENT OF CHIEF RESTRUCTURING OFFICER

        FURTHER RESOLVED, that Jette Campbell of Carl Marks Advisors shall be, and
hereby is, appointed by the Governing Body as the Company's chief restructuring officer
("CRO") with the CRO serving as an officer of the Company reporting to the Governing Body
(including on all aspects of the Chapter 11 Case), with full power to take all actions that would
be customary for one serving in the capacity of a chief restructuring officer, including, without

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limitation, to negotiate, execute, deliver, file, and record any Chapter 11 Documents for the
Chapter 11 Case and to approve, direct, and/or initiate disbursements in the name of and on
behalf of the Company, and, in connection therewith, each of the Authorized Persons is, with
power of delegation, hereby authorized, empowered, and directed, in the name of and on behalf
of the Company, to execute appropriate agreements, pay appropriate retainers, and cause to be
filed an appropriate application for authority to employ the CRO in accordance with applicable
law;

VII.     GENERAL

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to negotiate, execute,
deliver, file, and record any amendments, restatements, supplements, or other modifications to
the Chapter 11 Documents, DIP Loan Documents, RSA Documents, and all other agreements,
documents, and instruments contemplated by these resolutions which such Authorized Person
shall determine are necessary, appropriate, or desirable (any such determination to be
conclusively evidenced by such Authorized Person's execution and delivery thereof);

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon each Authorized Person, such Authorized Person (and such Authorized Person's
designees and delegates) be, and hereby is, authorized, empowered, and directed, in the name of
and on behalf of the Company, to take or cause to be taken any and all such other and further
action, and to negotiate, execute, deliver, file, and record any and all such agreements,
documents, and instruments, and to pay all expenses and fees (including but not limited to filing
fees) in each case as in such Authorized Person's judgment, shall be necessary, appropriate, or
desirable in order to fully carry out the intent and accomplish the purposes of the foregoing
resolutions adopted herein (any such action to be conclusive evidence that such person deemed
the same to meet such standard);

        FURTHER RESOLVED, that the Governing Body has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the Governing Documents of the Company, or hereby waives any right to have
received such notice; and

         FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts, actions,
or transactions were taken or consummated before the adoption of these resolutions, are hereby
in all respects approved, confirmed, and ratified as the true acts and deeds of the Company with
the same force and effect as if each such act, action, or transaction had been specifically
authorized in advance by resolution of the Governing Body.

                                 [Continued on following page.]




                                                6
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        IN WITNESS WHEREOF, the undersigned, has executed this Certification as of the
date first written above.

                                       AAC HOLDINGS, INC.


                                       s�1 o t0
                                       Name-Karen Abbott
                                                         ol ..ibbotb
                                       Its: Chief Legal Officer & Chief Compliance
                                       Officer and Secretary




                                                            [AAC-PARENT RESOLUTIONS]
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:
                                                  Chapter 11
AAC Holdings, Inc., Debtor.
                                                  Case No. 20-______ (___)

                                                  (Joint Administration Pending)

                         CORPORATE OWNERSHIP STATEMENT

         Pursuant to Federal Rule Bankruptcy Procedure 1007(a)(1), no corporations directly or

indirectly own 10% or more of any class of the debtor’s equity interests.
                             Case 20-11648-JTD                 Doc 1     Filed 06/20/20          Page 16 of 20


Fill in this information to identify the case:

Debtor name: AAC Holdings, Inc., et al.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-_____

                                                                                                                                 ¨ Check if this is an
                                                                                                                                         amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have
the 30 Largest Unsecured Claims and Are Not Insiders*                                                                                              12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

    Name of creditor and complete      Name, telephone number,       Nature of the       Indicate if   Amount of unsecured claim
    mailing address, including zip     and email address of creditor claim               claim is      If the claim is fully unsecured, fill in only unsecured
    code                               contact                       (for example,       contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,        unliqui-      total claim amount and deduction for value of
                                                                     bank loans,         dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional        disputed
                                                                     services, and                     Total claim, if    Deduction for      Unsecured
                                                                     government                        partially          value of           claim
                                                                     contracts)                        secured            collateral or
                                                                                                                          setoff

1   BANK OF AMERICA, N.A.              Kirk Porter                     Bank Loan           þC                                                $10,000,000.001
    222 2nd Ave. S                     kirk.porter@bofa.com
    Nashville TN 37201                 Tel: (615) 727-2213                                 ¨U
                                                                                           ¨D
2   ADCARE HOLDING TRUST               David Hillis c/o Andrew B.      Promissory Note     ¨C                                                $8,133,567.342
    100 Front Street                   O'Donnell, Esq.
    Worcester MA 01608                 aodonnell@mirickoconnell.com                        ¨U
                                       Tel: (508) 929-1636
                                       Fax: (508) 983-6284                                 ¨D
3   KING & SPALDING LLP                Patrick Scaife                  Legal Fees          ¨C                                                $1,596,501.77
    1180 Peachtree St NE               pscaife@kslaw.com
    38th Floor                         Tel: (404) 572-5020                                 ¨U
    Atlanta GA 30309
                                                                                           ¨D
4   CONNECTICUT GENERAL LIFE           Michael D. Goldfarb, Esq.,      Settlement          ¨C                                                $1,448,015.00
    INSURANCE CO. / CIGNA              AHFI
    HEALTH AND LIFE INSURANCE          Michael.Goldfarb@Cigna.com                          ¨U
    CO.
    c/o CIGNA Behavioral Health
                                       Tel: (860) 226-3628
                                       Fax: (860) 226-4692
                                                                                           ¨D
    900 Cottage Grove Rd. W3SIU
    Bloomfield CT 06002

5   MEDEQUITIES REALTY TRUST,          Yuliya Lurie                    Lease               ¨C                                                $1,314,610.08
    INC                                ylurie@omegahealthcare.com
    c/o Omega Healthcare Investors     Tel: (410) 427-1730                                 ¨U
    Inc.
    303 International Circle
                                                                                           ¨D
    Ste 200
    Hunt Valley MD 21030

6   COLLECT RX, INC                    Joseph Esparraguera             Settlement          ¨C                                                $800,000.00
    6720 Rockledge Dr Tower B          joee@collectrx.com
    Ste 600                            Tel: (240) 403-2589                                 ¨U
    Bethesda MD 20817
                                                                                           ¨D
* On a consolidated basis. The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtor
with respect to all or any portion of the claims contained herein. Moreover, nothing herein shall affect any Debtor’s right to challenge
the amount or characterization of any claim at a later date.

Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                               Page 1
                              Case 20-11648-JTD                 Doc 1       Filed 06/20/20           Page 17 of 20

Debtor   AAC Holdings, Inc., et al.                                                                                   Case number (if known) 20-_____

    Name of creditor and complete     Name, telephone number,       Nature of the            Indicate if   Amount of unsecured claim
    mailing address, including zip    and email address of creditor claim                    claim is      If the claim is fully unsecured, fill in only unsecured
    code                              contact                       (for example,            contingent,   claim amount. If claim is partially secured, fill in
                                                                    trade debts,             unliqui-      total claim amount and deduction for value of
                                                                    bank loans,              dated, or     collateral or setoff to calculate unsecured claim.
                                                                    professional             disputed
                                                                    services, and                          Total claim, if    Deduction for      Unsecured
                                                                    government                             partially          value of           claim
                                                                    contracts)                             secured            collateral or
                                                                                                                              setoff

7   AMERICAN EXPRESS                  Brice B. Curtis                    Credit Card           ¨C                                                $747,229.84
    20500 Belshaw Ave                 brice.b.curtis@aexp.com
    Carson CA 90746                   Tel: (623) 492-7122                                      ¨U
                                                                                               ¨D
8   BPL LLC                           Bernard Pierre-Louis               Lease                 þC                                                $556,000.00
    4176 Derby Dr.                    bernardlouis45@aol.com
    Davie FL 33330                                                                             ¨U
                                                                                               þD
9   BECKMAN COULTER INC               Stephanie Teh                      Trade Debt            ¨C                                                $545,403.04
    250 S Kraemer Blvd                steh@beckman.com
    Brea CA 92821                     Tel: (800) 526-3821 (option 5)                           ¨U
                                                                                               þD
10 TARRANT COUNTY TAX                 Wendy Burgess                      Taxes                 ¨C                                                $529,017.00
   ASSESSOR-COLLECTOR                 taxoffice@tarrantcounty.com
   100 E. Weatherford                 Tel: (817) 884-1100                                      ¨U
   Fort Worth TX 76196
                                                                                               ¨D
11 KDLR LLC                           Justin Seegmiller                  Lease                 þC                                                $528,003.04
   P.O. Box 249                       justin@kerryholtfarms.com
   Enterprise UT 84725                Tel: (435) 619-0637                                      ¨U
                                                                                               þD
12 IBM / BLUE WOLF                    Austin Willett
                                      austin.willett@bluewolfgroup.com
                                                                         Trade Debt            ¨C                                                $500,000.00
   201 17th St. NW #430
   Atlanta GA 30363                   Tel: (404) 445-6682                                      ¨U
                                                                                               þD
13 ZURICH AMERICAN INSURANCE          Karen Anderson                     Actuarial Accrual     þC                                                $409,780.00
   COMPANY                            karen.anderson@zurichna.com
   1299 Zurich Way                    Tel: (847) 762-7407                                      þU
   Schaumburg IL 60196
                                                                                               ¨D
14 HILLSBOROUGH COUNTY TAX            Doug Belden                        Taxes                 ¨C                                                $332,632.00
   COLLECTOR                          Tel: (813) 635-5200
   P.O. Box 30012                                                                              ¨U
   Tampa FL 33630-3012
                                                                                               ¨D
15 WALLER LANSDEN DORTCH &            Theresa Milburn-Watson
                                      theresa.milburn@wallerlaw.com
                                                                         Legal Fees            ¨C                                                $319,759.00
   DAVIS, LLP
   511 Union Street                   Tel: (615) 850-8587                                      ¨U
   Ste 2700
   Nashville TN 37219
                                                                                               ¨D
16 LAFAYETTE COUNTY TAX               Sylvia Baker                       Taxes                 ¨C                                                $311,658.61
   COLLECTOR                          sbaker@lafayettecoms.com
   300 N Lamar                        Tel: (662) 234-6006                                      ¨U
   Ste 103
   Oxford MS 38655
                                                                                               ¨D
17 BOROUGH OF RINGWOOD - TAX                                             Taxes                 ¨C                                                $302,060.74
   COLLECTOR                          Tel: (973) 475-7148
   60 Margaret King Ave                                                                        ¨U
   Ringwood NJ 07456
                                                                                               ¨D




Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 2
                              Case 20-11648-JTD                     Doc 1     Filed 06/20/20       Page 18 of 20

Debtor    AAC Holdings, Inc., et al.                                                                                Case number (if known) 20-_____

    Name of creditor and complete      Name, telephone number,       Nature of the         Indicate if   Amount of unsecured claim
    mailing address, including zip     and email address of creditor claim                 claim is      If the claim is fully unsecured, fill in only unsecured
    code                               contact                       (for example,         contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,          unliqui-      total claim amount and deduction for value of
                                                                     bank loans,           dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional          disputed
                                                                     services, and                       Total claim, if    Deduction for      Unsecured
                                                                     government                          partially          value of           claim
                                                                     contracts)                          secured            collateral or
                                                                                                                            setoff

18 THE ULTIMATE SOFTWARE               Melinda Bernard                      Trade Debt       ¨C                                                $272,114.48
   GROUP, INC                          Tel: (954) 400-6268
   P.O. Box 930953                                                                           ¨U
   Atlanta GA 31193-0953
                                                                                             ¨D
19 TEXAS COMPTROLLER OF                Glenn Hegar                          Taxes            ¨C                                                $269,040.57
   PUBLIC ACCOUNTS                     Tel: (877) 447-2834
   P.O. Box 149359                                                                           ¨U
   Austin TX 78714-9359
                                                                                             ¨D
20 DELOITTE TAX LLP                    April Kitchin                        Professional     ¨C                                                $259,799.33
   1033 Demonbreun St                  apkitchin@deloitte.com               Fees
   Ste 400                             Tel: (615) 313-4361                                   ¨U
   Nashville TN 37203
                                                                                             ¨D
21 SAN DIEGO K4 LLC                    Elliot Zemel c/o Adam Mindle
                                       amindle@greystonelawgroup.com
                                                                            Lease            ¨C                                                $255,089.29
   831 S. Lake St.
   Los Angeles CA 90057                Tel: (213) 867-2079                                   ¨U
                                       Fax: (213) 867-2144
                                                                                             ¨D
22 B PATT DBA GO FISH DIGITAL          Dan Hinckley                         Trade Debt       ¨C                                                $253,472.00
   324 South Wilmington St             dhinckley@gofishdigital.com
   #412                                Tel: (703) 638-4138                                   ¨U
   Raleigh NC 27601
                                                                                             ¨D
23 BEASLEY MEDIA GROUP                 Adam Moscatel                        Trade Debt       ¨C                                                $227,150.00
   55 William T. Morrissey Blvd.       adam.moscatel@bbgi.com
   Boston MA 02125                     Tel: (727) 563-8858                                   ¨U
                                                                                             ¨D
24 EARLYSENSE INC.                     James Harris                         Trade Debt       ¨C                                                $221,763.43
   135 Beaver St                       james.harris@earlysense.com
   Ste 307                             Tel: (781) 373-3228                                   ¨U
   Waltham MA 02452
                                                                                             ¨D
25 SIEMENS HEALTHCARE                  Lucy Raos
                                       lucy.raos@siemens-healthineers.com
                                                                            Trade Debt       ¨C                                                $213,665.69
   DIAGNOSTICS INC
   3090 Premiere Parkway               Tel: (844) 789-5025                                   ¨U
   Duluth GA 30097
                                                                                             ¨D
26 O.A. PETERSON                       c/o Elizabeth M. Andes, Esq.         Trade Debt       ¨C                                                $208,308.53
   CONSTRUCTION CO INC                 ema@mcandrewvuotto.com
   78 North Willow St                  Tel: (973) 538-6308                                   ¨U
   Montclair NJ 07042
                                                                                             þD
27 SALESFORCE.COM INC                  Eduardo Perez                        Trade Debt       ¨C                                                $203,155.56
   P.O. Box 203141                     eduardoperez@salesforce.com
   Dallas TX 75320-3141                Tel: (415) 901-8457                                   ¨U
                                                                                             ¨D
28 PROSKAUER ROSE LLP                  Charise Blue                         Legal Fees       ¨C                                                $192,711.00
   Eleven Times Square                 cblue@proskauer.com
   New York NY 10036                   Tel: (212) 969-5615                                   ¨U
                                                                                             ¨D
29 CIT FINANCE                         Attn. Bankruptcy Management          Equipment        ¨C                                                $191,625.87
   10201 Centurion Pkwy N.                                                  Leases
   Ste 100                                                                                   ¨U
   Jacksonville FL 32256
                                                                                             ¨D


Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                Page 3
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Debtor      AAC Holdings, Inc., et al.                                                                             Case number (if known) 20-_____

       Name of creditor and complete       Name, telephone number,       Nature of the    Indicate if   Amount of unsecured claim
       mailing address, including zip      and email address of creditor claim            claim is      If the claim is fully unsecured, fill in only unsecured
       code                                contact                       (for example,    contingent,   claim amount. If claim is partially secured, fill in
                                                                         trade debts,     unliqui-      total claim amount and deduction for value of
                                                                         bank loans,      dated, or     collateral or setoff to calculate unsecured claim.
                                                                         professional     disputed
                                                                         services, and                  Total claim, if    Deduction for      Unsecured
                                                                         government                     partially          value of           claim
                                                                         contracts)                     secured            collateral or
                                                                                                                           setoff

30 AETNA                                   Aetna Inc.                       Settlement      ¨C                                                $186,624.91
   PO Box 14079                            Attn: Legal Department
   Lexington KY 40512                      151 Farmington Avenue                            ¨U
                                           Hartford, CT 06156
                                           Tel: (800) 872-3862
                                                                                            ¨D

1
  AAC received these funds under the Paycheck Protection Program established by section 1102 of the Coronavirus Aid, Relief, and Economic
Security Act. AAC expects the loan to be forgiven in compliance with the statute.
2
    Certain beneficiaries of the AdCare Holding Trust may be insiders of AAC.




Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                             Page 4
                                 Case 20-11648-JTD                Doc 1           Filed 06/20/20              Page 20 of 20

 Fill in this information to identify the case and this filing:


              AAC Holdings, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____

         ■
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ■
                                                        Corporate Ownership Statement and Official Form 201A - Attachment to
              Other document that requires adeclaration_________________________________________________________________________________
                                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy Under Chapter 11



        I declare under penalty of perjury that the foregoing is true and correct.

                            06/20/2020
        Executed on ______________                         8 /s/ Andrew McWilliams
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Andrew McWilliams
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
